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Indivior Inc., Indivior UK Limited,
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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


    INDIVIOR INC., INDIVIOR UK LIMITED,
    and AQUESTIVE THERAPEUTICS, INC.
                                                       Civil Action No. 17-7106 (KM)(CLW)
                    Plaintiffs,
         v.                                              (Filed Electronically)

    ALVOGEN PINE BROOK LLC,

                       Defendant.



              FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT 1

         Plaintiffs Indivior Inc. (formerly known as Reckitt Benckiser Pharmaceuticals Inc.)

(“Indivior”) Indivior UK Limited (formerly known as RB Pharmaceuticals Limited) (“Indivior

UK”), and Aquestive Therapeutics, Inc. (formerly known as MonoSol Rx LLC) (“Aquestive”)

(collectively, “Plaintiffs”) file this Complaint against Defendant Alvogen Pine Brook LLC

(“Alvogen” or “Defendant”) and allege as follows:



1
 Plaintiffs amend the complaint as a matter of course pursuant to Fed. R. Civ. P. 15(a)(1)(B), as
the Amended Complaint is being filed within 21 days of service of a motion under Rule 12(b).
See D.I. 12.

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                                 NATURE OF THE ACTION

        1.     This is an action for patent infringement arising under the Food and Drug Laws

and Patent Laws of the United States, Titles 21 and 35 of the United States Code, respectively,

arising from Alvogen’s submission of an Abbreviated New Drug Application (“ANDA”) to the

Food and Drug Administration (“FDA”) seeking approval to manufacture, use, and sell a generic

version of Plaintiffs’ Suboxone® sublingual film prior to the expiration of United States Patent

Nos. 9,687,454 (“the ’454 patent”) and 9,855,221 (“the ’221 patent”) (collectively, “the patents-

in-suit”).

                                            THE PARTIES

        2.     Plaintiff Indivior is a Delaware corporation having a principal place of business at

10710 Midlothian Turnpike, Suite 430, Richmond, Virginia.

        3.     Plaintiff Indivior UK is a United Kingdom corporation having a principal place of

business at 103-105 Bath Road, Slough, UK.

        4.     Plaintiff Aquestive Therapeutics, Inc. is a Delaware limited liability corporation

having a principal place of business at 30 Technology Drive, Warren, New Jersey 07059.

        5.     On information and belief, Alvogen is a Delaware corporation having a principal

place of business at 10 Bloomfield Avenue, Building B, Pine Brook, New Jersey 07058.

                                    JURISDICTION AND VENUE

        6.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§§ 1331, 1338(a), 2201, and 2202.

        7.     On information and belief, Alvogen is in the business of, inter alia, developing,

manufacturing, obtaining regulatory approval, marketing, selling, and distributing generic copies

of branded pharmaceutical products in New Jersey and throughout the United States.



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        8.      This Court has personal jurisdiction over Alvogen because of, inter alia,

Alvogen’s principal place of business in New Jersey, Alvogen’s continuous and systematic

contacts with corporate entities within this Judicial District, and Alvogen’s marketing and sales

activities in this Judicial District, including, but not limited to, the substantial, continuous, and

systematic distribution, marketing, and/or sales of generic pharmaceutical products to residents

of this Judicial District.

        9.      Aquestive has legitimate and significant reasons for bringing this action in this

District. For example, Aquestive’s principal place of business is in this District. Aquestive’s

primary witnesses are in, or are regularly in, this District, as is the bulk of Aquestive’s evidence

and records currently in its possession, custody, or control. Defendant’s course of conduct is

designed to cause the performance of the tortious act of patent infringement that has led to

foreseeable harm and injury to Aquestive, which is a New Jersey corporation. Further, Defendant

would not suffer hardship, undue or otherwise, by being summoned to this District.

        10.     Venue is proper in this District under 28 U.S.C. §§ 1391 and 1400.

                                         THE PATENTS-IN-SUIT

        11.     Plaintiff Indivior UK is the lawful owner of the ’454 patent, and Plaintiff Indivior

is an exclusive licensee of the ’454 patent. The ’454 patent, entitled “Sublingual and Buccal Film

Compositions,” was duly and legally issued on June 27, 2017, naming Garry L. Myers, Samuel

D. Hilbert, Bill J. Boone, Beuford Arlie Bogue, Pradeep Sanghvi, and Madhusudan Hariharan as

inventors. A true copy of the ’454 patent is attached hereto as Exhibit A.

        12.     Plaintiff Aquestive Therapeutics, Inc. (formerly known as MonoSol Rx LLC) is

the lawful owner of the ’221 patent, and Plaintiff Indivior is an exclusive licensee of the ’221

patent. The ’221 patent, entitled “Uniform Films for Rapid-Dissolve Dosage Form Incorporating

Anti-Tacking Compositions,” was duly and legally issued on January 2, 2018, naming Garry L.

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Myers, Pradeep Sanghavi, Andrew Philip Verrall, Vimala Francis, and Laura Brooks as

inventors. A true copy of the ’221 patent is attached hereto as Exhibit B.

                                 SUBOXONE ® SUBLINGUAL FILM

        13.    Plaintiff Indivior is the holder of New Drug Application (“NDA”) No. 22-410 for

Suboxone® (buprenorphine hydrochloride and naloxone hydrochloride) sublingual film.

        14.    On August 30, 2010, the FDA approved NDA No. 22-410 for the manufacture,

marketing, and sale of Suboxone® sublingual film for the treatment of opioid dependence.

Plaintiff Indivior has sold Suboxone® sublingual film under NDA No. 22-410 since its approval.

        15.    The ’454 patent is listed in the FDA’s Approved Drug Products with Therapeutic

Equivalence Evaluations (the “Orange Book”) as covering Suboxone® sublingual film.

        16.    The ’221 patent is listed in the Orange Book as covering Suboxone® sublingual

film.

                                 THE DRUG APPROVAL PROCESS

        17.    In 1984, Congress enacted the Drug Price Competition and Patent Term

Restoration Act, commonly known as the “Hatch-Waxman Act” and codified at 21 U.S.C. § 355.

The Hatch-Waxman Act was intended to balance two important public policy goals. First,

Congress wanted to ensure that innovator drug manufacturers would have meaningful patent

protection and a period of marketing exclusivity to enable them to recoup their investments in

the development of valuable new drugs. Second, Congress sought to ensure that, once the patent

protection and marketing exclusivity for these drugs expire, consumers would benefit from the

availability of lower priced generic versions of approved drugs.

        18.    Under 21 U.S.C. § 355(b)(1), the innovator drug manufacturer and NDA

applicant is required to submit extensive testing and safety information concerning the drug. In

addition, the NDA applicant must submit information on “any patent which claims the drug for

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which the applicant submitted the application or which claims a method of using such drug and

with respect to which a claim of patent infringement could reasonably be asserted.” Once the

NDA is approved, the FDA lists this patent information in the Orange Book.

        19.     In contrast, the Hatch-Waxman Act allows ANDA applicants to obtain FDA

approval for generic versions of previously-approved drugs without having to repeat the

extensive testing required for a new drug application. Under 21 U.S.C. § 355(j), ANDAs can rely

on FDA’s previous findings of safety and efficacy for an approved drug product, if they

demonstrate, among other things, that the generic drug is bioequivalent to the previously-

approved drug.

        20.     When a generic manufacturer submits an ANDA, the FDA conducts a preliminary

review of the application to ensure it is sufficiently complete to permit a substantive review. See

21 C.F.R. § 314.101(b)(1). “Receipt of an [ANDA] means that FDA has made a threshold

determination that the abbreviated application is sufficiently complete to permit a substantive

review.” Id.

        21.     Under 21 U.S.C. § 355(j)(2)(A)(vii), the ANDA must also include one of the

following four certifications with respect to each of the patents listed in the Orange Book for the

previously-approved drug product: (i) that the patent information has not been filed (“Paragraph

I” certifications); (ii) that the patent has expired (“Paragraph II” certifications); (iii) that the

patent will expire on a specific date, and the generic will stay off the market until that date

(“Paragraph III” certifications); or (iv) that the “patent is invalid or will not be infringed by the

manufacture, use, or sale of the new drug for which the application is submitted” (“Paragraph

IV” certifications).




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        22.     If the ANDA includes a Paragraph IV certification, the Hatch-Waxman Act

requires the ANDA applicant to give notice to the patent owner of the factual and legal basis for

the applicant’s opinion that patents listed in the Orange Book are invalid or will not be infringed

(“Notification Letter”) “not later than 20 days after the date of the postmark on the notice with

which the [FDA] informs the applicant that the application has been filed.” 21 U.S.C. §

355(j)(2)(B).

        23.     If the patent owner files an infringement action within 45 days of receiving the

Notification Letter, a 30-month injunction or stay of the FDA approval is triggered, calculated

from the date of receipt of the Notification Letter. See 21 U.S.C. § 355(j)(5)(B)(iii). This 30-

month period is intended to allow time for judicial resolution on the merits of any patent

infringement, validity, and/or enforceability claims, before the competitor is allowed entry into

the market.

                               ALVOGEN’S PARAGRAPH IV NOTICE

        24.     Plaintiffs received the Notification Letter from Alvogen dated August 17, 2017,

stating that ANDA No. 205954 contains Paragraph IV certifications alleging that the ’454 patent

is invalid, unenforceable, and/or will not be infringed by the manufacture, use, or sale of the

generic product proposed in the ANDA.

        25.     The Notification Letter further states that Alvogen submitted ANDA No. 205954

to the FDA under 21 U.S.C. § 355(j), seeking approval to engage in commercial manufacture,

use, and/or sale of Alvogen’s generic product before expiration of the patents-in-suit. On

information and belief, ANDA No. 205954 concerns dosages of Defendant’s generic product and

refers to and relies on Plaintiff Indivior’s NDA for Suboxone® sublingual film and purports to

contain data showing bioequivalence of Alvogen’s generic product with Suboxone® sublingual

film.

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                       DEFENDANTS’ INFRINGING GENERIC PRODUCT

         26.   Defendant submitted ANDA No. 205954 to FDA under 21 U.S.C. § 355(b)(2),

seeking approval to engage in commercial manufacture, use, and/or sale of Defendant’s generic

product before expiration of the patents-in-suit.

         27.   ANDA No. 205954 refers to and relies on Plaintiffs’ NDA for Suboxone®

sublingual film and purports to contain data showing bioequivalence of Defendants’ generic

product with Suboxone® sublingual film.

         28.   On information and belief, Defendant’s generic product includes an anti-tacking

agent recited in the claims of the ’221 patent as part of commercially sourced polyethylene

oxide.

                                              COUNT 1
                     Infringement of the ’454 Patent Under 35 U.S.C. § 271(e)(2)

         29.   On information and belief, Alvogen’s generic product is covered by one or more

claims of the ’454 patent.

         30.   By filing ANDA No. 205954 under 21 U.S.C. § 355(j) for the purposes of

obtaining approval to engage in the commercial manufacture, use, and/or sale of Alvogen’s

generic product prior to the expiration of the ’454 patent, Alvogen has committed an act of

infringement of the ’454 patent under 35 U.S.C. § 271(e)(2).

         31.   Plaintiffs are entitled to the relief provided by 35 U.S.C. § 271(e)(4), including,

inter alia, an order of this Court that the FDA set the effective date of approval for ANDA No.

205954 to be a date which is not any earlier than the expiration date of the ’454 patent, including

any extensions of that date.




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                                              COUNT 2
                     Infringement of the ’221 Patent Under 35 U.S.C. § 271(e)(2)

       32.     On information and belief, Alvogen’s generic product is covered by one or more

claims of the ’221 patent.

       33.     By filing ANDA No. 205954 under 21 U.S.C. § 355(j) for the purposes of

obtaining approval to engage in the commercial manufacture, use, and/or sale of Alvogen’s

generic product prior to the expiration of the ’221 patent, Alvogen has committed an act of

infringement of the ’221 patent under 35 U.S.C. § 271(e)(2).

       34.     Plaintiffs are entitled to the relief provided by 35 U.S.C. § 271(e)(4), including,

inter alia, an order of this Court that the FDA set the effective date of approval for ANDA No.

205954 to be a date which is not any earlier than the expiration date of the ’221 patent, including

any extensions of that date.

                                        PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that this Court enter:

       A.      A Judgment that Alvogen has infringed the ’454 patent under 35 U.S.C. §

271(e)(2) by submitting and maintaining ANDA No. 205954;

       B.      A Declaratory Judgment that Defendant’s commercial manufacture within the

United States of Alvogen’s generic product would infringe the ’454 patent under 35 U.S.C. §

271;

       C.      A Judgment that Alvogen has infringed the ’221 patent under 35 U.S.C. §

271(e)(2) by submitting and maintaining ANDA No. 205954;

       D.      A Declaratory Judgment that Defendant’s commercial manufacture within the

United States of Alvogen’s generic product would infringe the ’221 patent under 35 U.S.C. §

271;


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       E.      Preliminary and permanent injunctions, restraining and enjoining Alvogen, its

officers, agents, attorneys, affiliates, divisions, successors and employees, and those acting in

privity or concert with them, from engaging in, causing, or inducing the commercial

manufacture, use, offer to sell, or sale within the United States, or importation into the United

States, of drugs and formulations, or from inducing and/or encouraging the use of methods,

claimed in the patents-in-suit;

       F.      An Order that the effective date of any approval of ANDA No. 205954 be a date

that is not earlier than the expiration of the patents-in-suit, including any extensions thereof and

any later expiration of exclusivity associated with the ’454 patent;

       G.      An Order that the effective date of any approval of ANDA No. 205954 be a date

that is not earlier than the expiration of the patents-in-suit, including any extensions thereof and

any later expiration of exclusivity associated with the ’221 patent;

       H.      A Judgment and Order finding that this is an exceptional case within the meaning

of 35 U.S.C. § 285 and awarding to Plaintiffs their reasonable attorneys’ fees;

       I.      A Judgment granting Plaintiffs compensatory damages in an amount to be

determined at trial including both pre-judgment and post-judgment interest if Alvogen

commercially manufactures, uses, offers to sell, or sells in the United States, or imports into the

United States, Alvogen’s generic product before the expiration of the patents-in-suit, including

any extensions; and

       J.      Any and all other relief as the Court deems just and proper.




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 Dated: February 7, 2018               Respectfully submitted,

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